         Case 1:21-cv-03217-CJN Document 13-1 Filed 04/01/22 Page 1 of 61




                     IN THE UNITED STATES DISTRICT COURT                                      Formatted: Tab stops:
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                         FOR THE DISTRICT OF COLUMBIA

                                             )
MARK MEADOWS,                                )
1023 North Royal Street, Unit 302            )
Alexandria, VA 22314,606 Wind Flower Drive                        )
Sunset, SC 29685,                            )
                                             )
                Plaintiff,                   )
                                             )
        v.                                   )              Case No. __________1:21-cv-3217   Formatted: Tab stops:
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        (CJN)
                                             )
NANCY PELOSI, in her official                )
capacity as Speaker of the United States     )
House of Representatives;,                   )
1236 Longworth House Office Building         )
Washington, DC 20515;                        )
                                             )
BENNIE G. THOMPSON, in his official          )
capacity as Chair of the Select Committee )
to Investigate the January 6th Attack on the )
United States Capitol; ,                             )
2466 Rayburn House Office Building           )
Washington, DC 20515;                        )
                                             )
ELIZABETH L. CHENEY, in her official )
capacity as a memberVice Chair of the Select                )
Committee to Investigate the January 6th     )
Attack on the United States Capitol,         )                                                Formatted: Tab stops:
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416 Cannon House of Representatives;        Office Building       )
Washington, DC 20515;                        )                                                Formatted: Tab stops:
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                                             )
ADAM B. SCHIFF, in his official              )
capacity as a member of the United States )
House of Representatives;,                   )
2309 Rayburn House Office Building           )
Washington, DC 20515;                        )
                                             )
JAMIE B. RASKIN, in his official             )
capacity as a member of the United States )
House of Representatives;,                   )
2242 Rayburn House Office Building           )
Washington, D.C 20515;                       )
                                             )
          Case 1:21-cv-03217-CJN Document 13-1 Filed 04/01/22 Page 2 of 61




SUSAN E. LOFGREN, in her official         )
capacity as a member of the United States )
House of Representatives;,                )
1401 Longworth House Office Building      )
Washington, DC 20515;                     )
                                          )
ELAINE G. LURIA, in her official          )
capacity as a member of the United States )
House of Representatives;,                )
412 Cannon House Office Building          )
Washington, DC 20515;                     )
                                          )
PETER R. AGUILAR, in his official         )
capacity as a member of the United States )
House of Representatives;,                )
                     109 Cannon House Office Building   )
Washington, DC 20515;                     )
                                          )
STEPHANIE MURPHY, in her official         )
capacity as a member of the United States )
House of Representatives;,                )
1710 Longworth House Office Building      )
Washington, DC 20515;                     )
                                          )
ADAM D. KINZINGER, in his official        )
capacity as a member of the United States )
House of Representatives;,                )
2245 Rayburn House Office Building        )
Washington, DC 20515;                     )
                                          )
SELECT COMMITTEE TO                       )
INVESTIGATE THE JANUARY 6TH               )
ATTACK ON THE UNITED STATES               )
CAPITOL;,                                 )
Longworth House Office Building           )
Washington, DC 20515,                     )
                                          )
                                          )
               Defendants.                )
                                          )

 FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                     INTRODUCTION




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         1.      Plaintiff, the Honorable Mark Meadows (“Mr. Meadows”), a private citizen who

previously served as a Member of Congress and subsequently as Chief of Staff to the President of

the United States, brings this complaint for declaratory and injunctive relief to invalidate and

prohibit the enforcement of two overly broad and unduly burdensome subpoenas from a select

committee of the U.S. House of Representatives (the “Select Committee”) issued in whole or part

without legal authority in violation of the Constitution and laws of the United States.

         2.      The Select Committee wrongly seeks to compel both Mr. Meadows and a

third--party telecommunications company to provide information to the Select Committee that the

Committee lacks lawful authority to seek and to obtain. The Select Committee acts absent any

valid legislative power and threatens to violate longstanding principles of executive privilege and

testimonial immunity that are of constitutional origin and dimension. Without intervention by this

Court, Mr. Meadows faces the harm of both being illegally coerced into violating the Constitution

and having a third party involuntarily violate Mr. Meadows rights and the requirements of relevant

laws governing records of electronic communications. Only this Court can prevent these grave

harms.

         3.      For months, Mr. Meadows has consistently sought in good faith to pursue an

accommodation with the Select Committee whereby it could obtain relevant, non-privileged

information. in a manner consistent with legal precedent. While the Committee and Mr. Meadows

engaged over a period of time in an effort to achieve such reasonable accommodation, the Select

Committee adamantly refused to recognize the immunity of present and former senior White

House aides from being compelled to appear before Congress and likewise refused to recognize a

former president’s claims of Executive Privilege and instructions to Mr. Meadows to maintain

such privilege claims in addressing the Select Committee’s inquiries.



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       4.      In his diligent attempts to reach an accommodation with the Select Committee, Mr.

Meadows produced thousands of documents the Select Committee insisted were relevant to its

inquiry.

       4.5.    The current President of the United States, through counsel, purported to waive the

former president’sPresident’s claims of privilege and immunity. He did so without knowing the

content and scope of the privileged information Mr. Meadows would, in theory, provide to the

Select Committee. But as Justice Kavanaugh recently explained, “[a] former President must be

able to successfully invoke the Presidential communications privilege for communications that

occurred during his Presidency, even if the current President does not support the privilege claim.”

Trump v. Thompson, 142 S. Ct. 680, 680 (2022) (statement of Kavanaugh, J., respecting denial)

(emphasis added).

       5.6.    As a result, Mr. Meadows, a witness, has been put in the untenable position of

choosing between conflicting privilege claims that are of constitutional origin and dimension and

having to either risk enforcement of the subpoena issued to him, not merely by the House of

Representatives, but through actions by the Executive and Judicial Branches, or, alternatively,

unilaterally abandoning the former president’s claims of privileges and immunities. Thus, Mr.

Meadows turns to the courts to say what the law is.

                                            PARTIES

       1.7.    Plaintiff Mark Meadows served as Chief of Staff to President Donald J. Trump from       Formatted: Indent:
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March 31, 2020 until January 20, 2021. Mr. Meadows is currently a senior partner at the                Level: 1 + Numbering
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Conservative Partnership Institute in Washington, D.C. Mr. Meadows previously served as a              + Aligned at: 0.25" +
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Republican member of the U.S. House of Representatives, representing North Carolina’s 11th

Congressional District, from January 3, 2013 to March 30, 2020.



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       2.8.    Defendant Nancy Pelosi (“Speaker Pelosi”) is a Democrat member of the U.S.

House of Representatives and Speaker of the House.

       3.9.    Defendant Bennie G. Thompson (“Chairman Thompson”) is a Democrat member

of the U.S. House of Representatives and Chairman of the Select Committee to Investigate the

January 6th Attack on the United States Capitol. Subpoenas challenged herein were issued with

his authority as Chair.

       4.10.   Defendant Elizabeth L. Cheney is a Republican member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       5.11.   Defendant Adam B. Schiff is a Democrat member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       6.12.   Defendant Jamie B. Raskin is a Democrat member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       7.13.   Defendant Susan E. Lofgren is a Democrat member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       8.14.   Defendant Elaine G. Luria is a Democrat member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.




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       9.15.   Defendant Peter R. Aguilar is a Democrat member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       10.16. Defendant Stephanie Murphy is a Democrat member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       11.17. Defendant Adam D. Kinzinger is a Republican member of the U.S. House of

Representatives and membersmember of the Select Committee to Investigate the January 6th

Attack on the United States Capitol.

       12.18. Defendant Select Committee to Investigate the January 6th Attack on the United

States Capitol (the “Select Committee”) is a select committee created by House Resolution 503

(“H. Res. 503”) passed by the U.S. House of Representatives on June 30, 2021.

                                JURISDICTION AND VENUE

       13.19. This Court has subject matter jurisdiction, pursuant to 28 U.S.C. § 1331, because     Formatted: Indent:
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this action arises under the Constitution and laws of the United States.                            Level: 1 + Numbering
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       14.20. This Court has personal jurisdiction over Speaker Pelosi because she sponsored H.     + Aligned at: 0.25" +
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Res. 503 and oversaw its passage in the House. She also approved and ratified the issuance of the

Meadows and Verizon Subpoenas from Washington, D.C.

       15.21. This Court has personal jurisdiction over Chairman Thompson because he presides

over the Select Committee and issued the Meadows and Verizon Subpoenas from his office

address in Washington, D.C.

       16.22. This court has personal jurisdiction over Elizabeth L. Cheney, Adam B. Schiff,

Jamie B. Raskin, Susan E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, Adam



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D. Kinzinger because they serve as members of the Select Committee that issued the Meadows

and Verizon Subpoenas from Washington, D.C.

       17.23. This Court has personal jurisdiction over the Select Committee because it is located

and operates in Washington, D.C.

       18.24. Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events giving

rise to the claim occurred in Washington, DCD.C.

                                      RELEVANT FACTS

       19.25. At the times relevant here, Mr.Mr. Meadows served as Chief of Staff to President           Formatted: Indent:
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Donald J. Trump, including for the period following the 2020 Presidential Election up to the             Level: 1 + Numbering
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Inauguration of President Joseph R. Biden, Jr., on January 20, 2021.                                     + Aligned at: 0.25" +
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       20.26. In a well-known episodeevent on January 6, 2021, a large group of protestors in

Washington, D.C., entered the U.S. Capitol, breached security, and disrupted the counting of

Electoral College votes until order was restored. The U.S. Department of Justice has arrested more

than 500charged nearly 700 individuals in connection with the activities on January 6th.

A.     Formation, Composition, and Authority and Purposes of the Select Committee

       21.27. Earlier this year, Congress considered establishing a “National Commission to              Formatted: Indent:
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Investigate the January 6 Attack on the United States Capital Complex.”                                  Level: 1 + Numbering
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       22.28. Chairman Thompson introduced H.R. 3233 on May 14, 2021. H.R. 3233 would                    + Aligned at: 0.25" +
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have established the Commission for four “purposes”:

               a.       “To investigate and report upon the facts and causes relating to the January     Formatted: Indent:
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       6, 2021, domestic terrorist attack upon the United States Capitol Complex (hereafter              0.5"
       referred to as the “domestic terrorist attack on the Capitol”) and relating to the interference
       with the peaceful transfer of power, including facts and causes relating to the preparedness
       and response of the United States Capitol Police and other Federal, State, and local law
       enforcement in the National Capitol Region and other instrumentality of government, as
       well as the influencing factors that fomented such attack on American representative
       democracy while engaged in a constitutional process.”

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               b.     “To examine and evaluate evidence developed by relevant Federal, State,
       and local governmental agencies, in a manner that is respectful of ongoing law enforcement
       activities and investigations regarding the domestic terrorist attack upon the Capitol,
       regarding the facts and circumstances surrounding such terrorist attack and targeted
       violence and domestic terrorism relevant to such terrorist attack.”

               c.     “To build upon the investigations of other entities and avoid unnecessary
       duplication by reviewing the findings, conclusions, and recommendations of other
       Executive Branch, congressional, or independent bipartisan or non-partisan commission
       investigations into the domestic terrorist attack on the Capitol and targeted violence and
       domestic terrorism relevant to such terrorist attack, including investigations into
       influencing factors related to such terrorist attack.”

                d.     “To investigate and report to the President and Congress on its findings,
       conclusions, and recommendations for corrective measures that may include changes in
       law, policy, procedures, rules, or regulations that could be taken to prevent future acts of
       targeted violence and domestic terrorism, including to prevent domestic terrorist attacks
       against American democratic institutions, improve the security posture of the United States
       Capitol Complex while preserving accessibility of the Capitol Complex for all Americans,
       and strengthen the security and resilience of the Nation and American democratic
       institutions against domestic terrorism.”

       23.29. The Commission would have included a bipartisan group of ten members: (1) a             Formatted: Indent:
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“Chairperson” “appointed jointly by the Speaker of the House of Representatives and the majority      Level: 1 + Numbering
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leader of the Senate”; (2) a “Vice Chairperson” “appointed jointly by the minority leader of the      + Aligned at: 0.25" +
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House of Representatives and the minority leader of the Senate”; (3) “two members . . . appointed

by the Speaker of the House of Representatives”; (4) “two members . . . appointed by the minority

leader of the House of Representatives”; (5) “two members . . . appointed by the majority leader

of the Senate”; and (6) “two members . . . appointed by the minority leader of the Senate.” Because

Democrats control both chambers in the current Congress, the Commission would have included

five members appointed by Democrats and five members appointed by Republicans.

       24.30. The House passed H.R. 3233 on May 19, 2021.

       25.31. The Senate considered a cloture motion to proceed on H.R. 3233 on May 28, 2021.

The motion failed by a vote of 54 yeas and 35 nays.



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       26.32. OnAfter a failed attempt to establish a bipartisan commission, on June 28, 2021,

Speaker Pelosi introduced H. Res. 503, “Establishing the Select Committee to Investigate the

January 6th Attack on the United States Capitol.” Two days later, the House passed H. Res. 503

on a near party-line vote of 222 yeas and 190 nays. Only two Republicans, Rep. LizReps. Cheney

of Wyoming and Rep. Adam Kinzinger of Illinois, voted in favor of H. Res. 503.

       33.     H. Res. 503 sets forth the “purposes” of the Select Committee:

               a.      “To investigate and report upon the facts, circumstances, and causes relating
       to the January 6, 2021, domestic terrorist attack upon the United States Capitol Complex
       (hereafter referred to as the “domestic terrorist attack on the Capitol”) and relating to the
       interference with the peaceful transfer of power, including facts and causes relating to the
       preparedness and response of the United States Capitol Police and other Federal, State, and
       local law enforcement agencies in the National Capital Region and other instrumentalities
       of government, as well as the influencing factors that fomented such an attack on American
       representative democracy while engaged in a constitutional process.”

              b.      “To examine and evaluate evidence developed by relevant Federal, State,
       and local governmental agencies regarding the facts and circumstances surrounding the
       domestic terrorist attack on the Capitol and targeted violence and domestic terrorism
       relevant to such terrorist attack.”

              c.      “To build upon the investigations of other entities and avoid unnecessary
       duplication of efforts by reviewing the investigations, findings, conclusions, and
       recommendations of other executive branch, congressional, or independent bipartisan or
       nonpartisan commission investigations into the domestic terrorist attack on the Capitol,
       including investigations into influencing factors related to such attack.”

       34.     H. Res. 503 establishes three “functions” of the Select Committee: (1) to                 Formatted: Indent:
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“investigate the facts, circumstances, and causes relating to the domestic terrorist attack on the       Level: 1 + Numbering
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Capitol”; (2) to “identify, review, and evaluate the causes of and the lessons learned from the          + Aligned at: 0.25" +
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domestic terrorist attack on the Capitol”; and (3) to “issue a final report to the House containing

such findings, conclusions, and recommendations for corrective measures described in subsection

(c) as it may deem necessary.”

       35.     Subsection (c) of Section 4 describes three categories of “corrective measures”:

“changes in law, policy, procedures, rules, or regulations that could be taken” (1) “to prevent future

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acts of violence, domestic terrorism, and domestic violent extremism, including acts targeted at

American democratic institutions”; (2) “to improve the security posture of the United States

Capitol Complex while preserving accessibility of the Capitol Complex for all Americans”; and

(3) “to strengthen the security and resilience of the United States and American democratic

institutions against violence, domestic terrorism, and domestic violent extremism.”

        36.      H. Res. 503 provides that “[t]he Select Committee may not hold a markup of

legislation.”

        37.      The Select Committee’s investigation is led by Chief Investigative Counsel

Timothy J. Heaphy, former United States Attorney for the Western District of Virginia, and Senior

Investigative Counsel John Wood, former United States Attorney for the Western District of

Missouri. The Select Committee reportedly has more than a dozen former federal prosecutors on

staff. See Michael S. Schmidt & Luke Broadwater, In Scrutinizing Trump and His Allies, Jan. 6

Panel         Adopts    Prosecution     Tactics,     N.Y.      Times      (Feb.       5,   2022)

https://www.nytimes.com/2022/02/05/us/politics/january-6-committee.html.

        38.      According to the Committee on House Administration, the Select Committee has

contracted with several private firms that provide services to law enforcement and assist with

criminal forfeiture. See Comm. H. Admin., 117th Cong., Committee Report from December 2021,

https://cha.house.gov/sites/democrats.cha.house.gov/files/2021-December-SCj6-

CHA%20Activity%20Report.

        39.      Since the passage of H. Res. 503, Speaker Pelosi and members of the Select         Formatted: Font:
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Committee have made countless public statements explaining the purposes of the Select

Committee, including but not limited to improper purposes such as law enforcement and exposure

for its own sake.



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          40.   In an interview on December 29, 2021, Rep. Kinzinger stated, “We’ll be able to

have out on the public record anything Justice Department needs maybe in . . . pursuit of [a

potential criminal prosecution of former President Trump].” Zachary Cohen & Annie Grayer,

January 6 committee says it would make criminal referrals if ‘appropriate,’ but that could be a

long way off, CNN (Dec. 21, 2021), https://www.cnn.com/2021/12/21/politics/january-6-

committee-criminal-referrals/index.

          41.   Chairman Thompson noted on October 24, 2021, “obviously we are pursuing

evidence” leading to “former President Trump or anyone else.” Transcript: Rep. Bennie Thompson

on “Face the Nation”, CBS News (Oct. 24, 2021), https://www.cbsnews.com/news/transcript-rep-

bennie-thompson-on-face-the-nation-october-24-2021/. Chairman Thompson also tweeted on

January 6, 2022, “We have been working diligently to bring justice to [those responsible for Jan.

6].” Bennie Thompson (@BennieGThompson), Twitter, (Jan. 6, 2022 8:31 AM),

https://twitter.com/BennieGThompson/status/1479083311163232258.

          42.   During a meeting of the Select Committee, Rep. Schiff explained that “exposing all

the malefactors and bloodshed that went on here is really important.” Mary Clare Jalonick, Capitol

riot committee has interviewed 250 people so far, Associated Press (Dec. 2, 2021),

https://apnews.com/article/steve-bannon-donald-trump-elections-capitol-siege-

36b68bd9e0c701fea8e6b11f00292604. Rep. Schiff also tweeted on November 12, 2021, “We will

expose those responsible for Jan 6. No one is above the law.” Adam Schiff (@RepAdamSchiff),

Twitter              (Nov.              12,             2021,              4:54             PM),

https://twitter.com/RepAdamSchiff/status/1459278425118625794. And again on December 13,

2021, Rep. Schiff tweeted with respect to Mr. Meadow’s confidential documents: “All of it is




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damning. All of it must be exposed.” Adam Schiff (@RepAdamSchiff), Twitter (Dec. 13, 2021

8:23 PM), https://twitter.com/RepAdamSchiff/status/1470564973764136960.

       43.     Rep. Raskin has also implied a law enforcement purpose of the investigation when

he stated on multiple occasions that no privilege (attorney-client nor executive) “operate[s] to

shield participants in a crime from an investigation into a crime.” Hugo Lowell, Capitol panel to

investigate Trump call to Willard hotel in hours before attack, Guardian (Dec. 27, 2021),

https://www.theguardian.com/us-news/2021/dec/27/capitol-attack-panel-investigate-trump-call-

willard-hotel-before-assault. See also Jamie Raskin (@RepRaskin), Twitter (Dec. 2, 2021, 5:40

PM), https://twitter.com/RepRaskin/status/1466537815185891329 (“Exec. privilege doesn’t

cover criminal misconduct, like insurrections or coups . . . .”).

       44.     Rep. Luria said during an interview on December 14, 2021 that “the evidence will

speak for itself.” “[T]hat’s exactly why we’re conducting this investigation to find out all the facts”

and “hold people accountable who are responsible.” Interview with Rep. Elaine Luria, New Day,

CNN (Dec. 14, 2021), https://transcripts.cnn.com/show/nday/date/2021-12-14/segment/05.

       45.     During her press conference following the passage of H. Res. 503, Speaker Pelosi

explained that “the next step for us has always been to seek and to find the truth.” See Nancy

Pelosi, Speaker, U.S. House of Representatives, Transcript of Pelosi Weekly Press Conference

Today (Jul. 1, 2021).

       46.     Rep. Cheney stated during the Select Committee’s only hearing on July 27, 2021,

“If those responsible are not held accountable, and if Congress does not act responsibly, this will

remain a cancer on our Constitutional Republic.” The Law Enforcement Experience on January

6th, 117th Cong. (2021) (statement of Liz Cheney, Member, Select Committee to Investigate the

January 6th Attack on the U.S. Capitol).



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       47.     Rep. Lofgren, in a July 28, 2021 interview, stated that the Select Committee and its

staff are “unified with one mission to uncover the truth.” House Select Committee Hears

Compelling     Testimony      On    The     Capitol     Attack,    NPR      (July    28,    2021),

https://www.npr.org/2021/07/28/1021600405/house-select-committee-hears-compelling-

testimony-on-the-capitol-attack.

       48.     The experience of some individuals who have appeared before the Select

Committee advances the notion that the purpose of the Select Committee exceeds that which it

purported in its authorizing resolution. Kash Patel, former Department of Defense Chief of Staff,

stated that during his December interview with the Select Committee, the investigators “spent less

time talking about Jan. 6 and more time talking about Afghanistan, Somalia, and other matters.”

John Solomon, Key witness: Jan. 6 panel spent more time asking about Afghan withdrawal than

Capitol attack, Just the News (Dec. 22, 2021), https://justthenews.com/government/congress/key-

witness-jan-6-panel-spent-more-time-asking-about-afghan-withdrawal-capitol.

       49.     Further, many statements from members of the Select Committee indicate they

have already made their decision with respect to former President Trump and his associates’ roles

in the events of January 6.

       50.     Chairman Thompson made clear his view when—prior to his appointment as chair

of the Select Committee—Rep. Thompson filed a civil action against former President Trump, his

attorney, and others, in which he accused them of “conspir[ing] to incite an assembled crowd to

march upon and enter the Capitol of the United States for the common purpose of disrupting, by

the use of force, intimidation and threat, the approval by Congress of the count of votes cast by

members of the Electoral College as required by Article II, Section 1 of the United States

Constitution.” See Compl., Thompson v. Trump, No. 1:21-cv-400 (D.D.C. Feb. 16, 2021).



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       51.     Rep. Raskin stated in an interview, “[T]his was a coup orchestrated by the president

against the vice president and against the Congress.” He threatened, “Trump will get his

comeuppance” because “he’s a one-man crime wave” who is “guilty as sin.” Dean Obeidallah,

“Trump will get his comeuppance”: Rep. Jamie Raskin promises consequences for Jan. 6, Salon

(Feb. 13, 2022) https://www.salon.com/2022/02/13/trump-will-get-his-comeuppance-rep-jamie-

raskin-promises-consequences-for-jan-6/.

       52.     In the same interview, Rep. Raskin alleged that Mr. Meadows specifically was

committing “all the obstruction and roadblocks thrown up with the entourage around Donald

Trump.” Id.

B.     Composition of the Select Committee

       53.     H. Res. 503 provides that “[t]he chair of the Select Committee, upon consultation      Formatted: Indent:
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with the ranking minority member, may order the taking of depositions, including pursuant to          Level: 1 + Numbering
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subpoena, by a Member or counsel of the Select Committee, in the same manner as a standing            + Aligned at: 0.25" +
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committee pursuant to section 3(b)(1) of House Resolution 8, One Hundred Seventeenth

Congress.” Section 3(b)(1) of H. Res. 8 provides that, “[d]uring the One Hundred Seventeenth

Congress, the chair of a standing committee. . . , upon consultation with the ranking minority

member of such committee, may order the taking of depositions, including pursuant to subpoena,

by a member or counsel of such committee.”

       27.54. In contrast to H.R. 3233, which contemplated an evenly balanced Commission, H.

Res. 503 instructs the Speaker of the House to appoint thirteen members to the Select Committee,

only five of which “shall be appointed after consultation with the minority leader.”

       28.55. Speaker Pelosi appointed Chairman Thompson, the original sponsor of H.R. 3233,

to serve as Chairchair of the Select Committee and appointed six additional Democrat members:



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Rep. ZoeReps. Lofgren of California,, Rep. Adam Schiff of California, Rep. Pete, Aguilar of

California, ,Rep. Stephanie Murphy of Florida, (FL),Rep. Jamie Raskin of Maryland, and Rep.

Elaine Luria of Virginia. She also appointed Republican Rep. Liz Cheney of Wyoming without

any designation of position. 167 Cong. Rec. H3597 (2021).

       29.56. House Minority Leader Kevin McCarthy recommended five Republican members

to serve on the Select Committee, consistent with H. Res. 503: Rep. Jim Banks of Indiana, to serve

as Ranking Member, and RepReps. Rodney Davis of Illinois, Rep. Jim Jordan of Ohio, Rep. Kelly

Armstrong of North Dakota, and Rep. Troy Nehls of Texas, to serve as additional minority

members.

       30.57. Speaker Pelosi did not appoint Rep. Banks to serve as Ranking Member, nor did

she appoint any other of Minority Leader McCarthy’s recommended minority members. In a

public statement, she acknowledged that her refusal to appoint the members recommended by the

Minority Leader was an “unprecedented decision.” Nancy Pelosi, Speaker, U.S. House of

Representatives, Pelosi Statement on Republican Recommendations to Serve on the Select

Committee to Investigate the January 6th Attack on the U.S. Capitol (July 21, 2021),

https://www.speaker.gov/newsroom/72121-2.

       31.58. Instead, Speaker Pelosi appointed Rep. Adam Kinzinger and Rep. Liz Cheney—

the only other RepublicansRepublican who voted in favor of H. Res. 503—and left four vacancies.

See 167 Cong. Rec. H3885 (2021).

       32.59. Without reference to any authority, onOn September 2, 2021, Chairman Bennie

Thompson announced in a press release that “he has named Representative Liz Cheney (R-WY)

to serve as the Vice Chair of the Select Committee.” See Press Release, Bennie Thompson,

Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol, Chairman



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Thompson Announces Representative Cheney as Select Committee Vice Chair (Sept. 2, 2021),

https://january6th.house.gov/news/press-releases/chairman-thompson-announces-representative-

cheney-select-committee-vice-chair. H. Res. 503 does not mention a vice chair, much less

authorize the chair to appoint a vice chair. See generally H. Res. 503, 117th Cong. (2021).          Formatted: Font: Italic


       60.        House Rule XI(2)(d) instructs that a committee chair shall designate “[a] member

of the majority party . . . as vice chair of the committee.” Rep. Cheney is a member of the

Republican Conference of the House of Representatives, and thus not a member of the current

majority party.

       33.61. The official letterhead of the Select Committee indicates that BennieRep.              Formatted: Indent:
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Thompson is “Chairman” and lists the other members, including Reps. Cheney and Kinzinger,            Level: 1 + Numbering
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without designation. See, e.g., Ex. A. The Select Committee’s website provides a list of its         + Aligned at: 0.25" +
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members, including Thompson as ChairmanChair, but no other members receive designation. See          Formatted: Font: Bold


Membership, Select Comm. to Investigate the Jan. 6 Attack on the U.S. Capitol,

https://january6th.house.gov/about/membership (last visited Dec. 6, 2021Feb. 17, 2022).

       34.        H. Res. 503 provides that “[t]he , “The chair of the Select Committee, upon

consultation with the ranking minority member, may not hold a markup of legislation.”

       35.62. orderH. Res. 503 sets forth the purposestaking of the Select Committee, which are      Formatted: Indent:
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substantially similar to those of the Commission contemplated by H.R. 3233, except that H.           Level: 1 + Numbering
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depositionsRes. 503 omits the fourth purpose: “[t]o investigate and report to the President and      + Aligned at: 0.25" +
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Congress on its findings, conclusions, and recommendations for corrective measures that may          Formatted: Font:
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include changes in law, policy, procedures, rules, or regulations. . . .”                            Formatted: Font:
                                                                                                     Times New Roman,
       36.1.      H. Res. 503 establishes three “functions” of the Select Committee: (1) to          Pattern: Clear


“investigate the facts, circumstances, and causes relating to the domestic terrorist attack on the



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Capitol”; (2) to “identify, review, and evaluate the causes of and the lessons learned from the

domestic terrorist attack on the Capitol”; and (3) to “issue a final report to the House containing

such findings, conclusions, and recommendations for corrective measures described in subsection

(c) as it may deem necessary.”

       37.1.   Subsection (c) of Section 4 describes three categories of “corrective measures”:

“changes in law, policy, procedures, rules, or regulations that could be taken” (1) “to prevent future

acts of violence, domestic terrorism, and domestic violent extremism, including acts targeted at

American democratic institutions”; (2) “to improve the security posture of the United States

Capitol Complex while preserving accessibility of the Capitol Complex for all Americans”; and

(3) “to strengthen the security and resilience of the United States and American democratic

institutions against violence, domestic terrorism, and domestic violent extremism.”

       38.1.   H. Res. 503 provides that “[t]he chair of the Select Committee, upon consultation

with the ranking minority member, may order the taking of depositions, including pursuant to

subpoena, by a Member or counsel of the Select Committee, in the same manner as a standing

committee pursuant to section 3(b)(1) of House Resolution 8, One Hundred Seventeenth

Congress.” Section 3(b)(1) of H. Res. 8 provides that, “[d]uring the One Hundred Seventeenth

Congress, the chair of a standing committee. . . , upon consultation with the ranking minority

member of such committee, may order the taking of depositions, including pursuant to subpoena,

by a member or counsel of such committee.”

       63.     BThe Select Committee has no ranking minority member.

C.     Activities of the Select Committee
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      39.64. Since its inception in July 2021, the Select Committee has held only one public             Left: 0", First line:
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hearing. During that hearing, the Select Committee heard testimony from officers of the U.S.             Style: 1, 2, 3, … + Start
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Capitol Police and D.C. Metropolitan Police Departments who were present at the Capitol on

January 6, 2021. The Select Committee has, however, gathered a substantial amount of documents

and testimony from private individuals and entities and leaked that information to the press.

       40.     The Select Committee has issued amore than one hundred wide range of-ranging

subpoenas for documents and the testimony of witnesses.

      41.65. In August, the Select Committee It has also demanded records from fifteen               Formatted: Indent:
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different and sent preservation notices to social media companies, including Facebook, Reddit,       Level: 1 + Numbering
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Twitter, and YouTube.telecommunications companies, and banking entities. A recent press release      + Aligned at: 0.25" +
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suggests that the Select Committee has interviewed more than 550 individuals. See Press Release,     Formatted: Font: Italic


Bennie G. Thompson, Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S.

Capitol, Select Committee Demands Records related to January 6th Attack from Social Media

Companies (Aug. 27Information on Efforts to Send False “Alternate Electors” to Congress and

Otherwise Interfere with Election Certification (Feb. 15, 2021). The subpoenas directed these

companies to produce all internal company policies and actions taken relating to “misinformation”

about the 2020 election, efforts to interfere with the 2020 election or electoral results, violent

domestic     extremists,   foreign   interference    with   the   2020    election,   and   more),

https://january6th.house.gov/news/press-releases/select-committee-demands-information-efforts-

send-false-alternate-electors. See, e.g., Zuckerberg Subpoena, Aug. 26, 2021.                        Formatted: Font: Italic


      66.      At least twenty-five individuals and corporations have filed civil actions

challenging subpoenas issued by the Select Committee. And unlike the many subpoenas published

on the Select Committee’s website, many of the subpoenas challenged in court were issued

covertly to third parties who hold individuals’ cellular and/or banking data.




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      42.67. The Select Committee has also issued what it describes as “sweeping” demands for        Formatted: Indent:
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presidential records from the National Archives and Records Administration (“NARA”) and seven        Level: 1 + Numbering
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other Executive Branch agencies.. See Press Release, Bennie G. Thompson, Chairman, Select            + Aligned at: 0.25" +
                                                                                                     Indent at: 0.5"

Committee to Investigate the January 6th Attack on the United States Capitol, Select Committee

Issues Sweeping Demand for Executive Branch Records (Aug. 25, 2021).

      43.68. Pursuant to the procedures set forth in the Presidential Records Act of 1978After

the Select Committee issued a demand for records held by the National Archives and Records

Administration (“NARA”) and seven other Executive Branch agencies, former President Trump

has asserted executive privilege over some of the responsive documents in NARA’s custody.,

pursuant to the procedures set forth in the Presidential Records Act of 1978. See Compl. Ex. 5,

Trump v. Thompson, No. 1:21-cv-2769 (D.D.C. 2021).

      44.69. On October 8, 2021 thePresident Biden White House, through counsel, then

instructed the Archivist of the United StatesNARA to release the documents requested by the

Select Committee on the grounds that President Biden wishes to waive executive privilege over

the subpoenaed records over which former President Trump has asserted executive privilegein

question. See Second Letter from Dana A. Remus, Counsel to the President, to David Ferriero,

Archivist of the United States (Oct. 8, 2021), https://www.whitehouse.gov/briefing-

room/statements-releases/2021/10/13/second-letter-from-dana-a-remus-counsel-to-the-president-

to-david-ferriero-archivist-of-the-united-states-dated-october-8-2021/. He therefore purported to

direct the premature release of presidential records which Congress had no inherent or statutory

authority to obtain, and which President Biden and his Administration had no inherent or statutory

authority to release.




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      70.      Following a months-long legal battle during which former President Trump

challenged President Biden’s superior authority to waive privilege, NARA released at least some

of the requested presidential records to the Select Committee on January 19, 2022. Nevertheless,

Justice Kavanaugh explained in the course of the litigation that “[a] former President must be able

to successfully invoke the Presidential communications privilege for communications that

occurred during his Presidency, even if the current President does not support the privilege claim.”

Trump v. On October 18, 2021, former President Trump filed a lawsuit in the U.S. District Court

for the District of Columbia, seeking declaratory and injunctive relief to stop NARA from

producing any privileged documents in response to the Select Committee’s requests. Former

President Trump described the Committee’s NARA subpoena as “an illegal, unfounded, and

overbroad records request.” See Compl.Thompson, 142 S. Ct. 680, 680 (2022) (statement of

Kavanaugh, J., respecting denial) (emphasis added).

       45.     D Trump v. Thompson, No. 1:21-cv-2769 (D.D.C. 2021).

       46.     On November 9, District Judge Tanya S. Chutkan denied former President Trump’s

motion for a preliminary injunction. See Mem. Op. 17, Trump v. Thompson, No. 1:21-cv-2769

(D.D.C. Nov. 9, 2021).

       47.     Former President Trump appealed the district court’s order, and the D.C. Circuit

Court of Appeals enjoined NARA from releasing the disputed Presidential records pending its

ruling. See Mem. Op. 17, Trump v. Thompson, No. 1:21-cv-2769 (D.D.C. Nov. 9, 2021).

       48.     On November 30, 2021, the D.C. Circuit held oral argument on the merits of former

President Trump’s appeal. This case is still pending.




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       49.    The Select Committee has also issued numerous subpoenas seeking the production
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of documents and compelled testimony from individual witnesses, including more than a dozen              Left: 0", First line:
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former Trump Administration officials.                                                                   Style: 1, 2, 3, … + Start
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C.     The Select Committee’s Meadows Subpoena                                                           Indent at: 0.5"
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       50.71. On September 23, 2021, the Select Committee served a subpoena on Mr. Meadows
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(the “Meadows Subpoena”). Ex. A.                                                                         0.5"
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       51.72. The Meadows Subpoena includes a sweeping set of document requests that relate              Left: 0.5", First line:
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to his tenure as White House Chief of Staff, including the following twenty-seven categories:            Style: a, b, c, … + Start
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                                                                                                         + Aligned at: 1.06" +
              a.      “Communications referring or relating in any way to plans, efforts, or             Indent at: 1.31"
       discussions regarding challenging, decertifying, overturning, or contesting the results of        Formatted: Indent:
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       the 2020 Presidential election.”                                                                  0.5"
                                                                                                         Formatted: Indent:
              b.      “All documents and communications concerning the role of the Vice                  Left: 0.5", First line:
       President as the Presiding Officer in the certification of the votes of the electoral college.”   0.5", Numbered +
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             c.     “From November 3, 2020, through January 20, 2021, all documents and                  at: 1 + Alignment: Left
                                                                                                         + Aligned at: 1.06" +
       communications referring or relating to the 2020 election results sent or transmitted             Indent at: 1.31"
       between White House officials and officials of state or local governments.”
                                                                                                         Formatted: Indent:
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              d.      “From November 3, 2020, through January 6, 2021, all documents and                 0.5"
       communications referring or relating to actual or potential court decisions, deliberations,       Formatted: Indent:
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       or processes involving challenges to the 2020 Presidential election.”                             0.5", Numbered +
                                                                                                         Level: 1 + Numbering
              e.     “All recordings, transcripts, notes (including electronic and hand-written          Style: a, b, c, … + Start
                                                                                                         at: 1 + Alignment: Left
       notes), summaries, memoranda of conversation, readouts, or other documents                        + Aligned at: 1.06" +
       memorializing communications between you and President Trump and/or Members of                    Indent at: 1.31"

       Congress on January 6, 2021, relating or referring in any way to the attack on the Capitol.”      Formatted: Indent:
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             f.      “All documents that refer or relate to efforts, plans, or attempts by President     Formatted           ... [1]
       Trump to activate the National Guard on January 6, 2021.”
                                                                                                         Formatted: Indent:
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               g.      “From November 3, 2020, through January 19, 2021, all documents and               0.5"
       communications concerning the resignation of any White House personnel or any                     Formatted           ... [2]
       politically appointed personnel of any Federal department or agency (including the                Formatted: Indent:
       resignation of any member of the President's Cabinet) and mentioning or referring                 Left: 0.5", First line:
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       (explicitly or implicitly) to the 2020 Presidential election or the events of January 6, 2021.”
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       h.    “All documents and communications relating to planned protests, marches,              Formatted: Indent:
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public assemblies, allies, or speeches in Washington, DC, on November 14, 2020,                    0.5", Numbered +
December 12, 2020, or January 5, 2021, or January 6, 2021.”                                        Level: 1 + Numbering
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                                                                                                   at: 1 + Alignment: Left
       i.      “All documents and communications related to security of the Capitol or             + Aligned at: 1.06" +
other Federal facilities on January 5, 2021, and January 6, 2021.”                                 Indent at: 1.31"
                                                                                                   Formatted: Indent:
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        j.      “From December 1, 2020, through January 20, 2021, any documents and                0.5"
communications involving White House personnel and any Member of Congress, referring               Formatted: Indent:
or relating to (a) civil unrest, violence, and/or attacks at the Capitol; (b) challenging,         Left: 0.5", First line:
overturning, or questioning the validity of the 2020 election results; (c) the counting of the     0.5", Numbered +
                                                                                                   Level: 1 + Numbering
electoral college vote on January 6, 2021; or (d) appealing or challenging the decisions of        Style: a, b, c, … + Start
courts related to the 2020 Presidential election.”                                                 at: 1 + Alignment: Left
                                                                                                   + Aligned at: 1.06" +
                                                                                                   Indent at: 1.31"
       k.     “All documents and communications related to social media information                Formatted: Indent:
monitored, gathered, reviewed, shared, or analyzed by White House personnel on January             Left: 0.5", First line:
6, 2021.”                                                                                          0.5"
                                                                                                   Formatted: Indent:
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       l.     “All documents and communications related to any plan for the President              0.5", Numbered +
to march or walk to the Capitol on January 6, 2021. This request includes any such                 Level: 1 + Numbering
                                                                                                   Style: a, b, c, … + Start
documents or communications related to a decision not to march or walk to the Capitol on           at: 1 + Alignment: Left
January 6, 2021.”                                                                                  + Aligned at: 1.06" +
                                                                                                   Indent at: 1.31"

        m.     “From November 3, 2020, to January 20, 2021, all documents and                      Formatted: Indent:
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communications reporting, summarizing, or detailing the voting returns and election results        0.5"
of the 2020 Presidential election.”                                                                Formatted: Indent:
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        n.       “All documents and communications related to Donald Trump's response              Level: 1 + Numbering
or reaction to the election results of the 2020 Presidential election, including but not limited   Style: a, b, c, … + Start
to any planned public remarks.”                                                                    at: 1 + Alignment: Left
                                                                                                   + Aligned at: 1.06" +
                                                                                                   Indent at: 1.31"
        o.    “All documents and communications regarding a November 9, 2020,                      Formatted           ... [4]
memorandum from Attorney General William Barr concerning investigation of voter fraud              Formatted           ... [5]
allegations.”
                                                                                                   Formatted           ... [6]
                                                                                                   Formatted           ... [7]
        p.     “From November 3, 2020, through January 20, 2021, all documents
                                                                                                   Formatted           ... [8]
provided to you or Donald Trump reviewing, assessing, or reporting on the security of
election systems in the United States.”                                                            Formatted           ... [9]
                                                                                                   Formatted         ... [10]
        q.      “From November 3, 2020, through January 20, 2021, all documents and                Formatted         ... [11]
communications provided to Donald Trump regarding purported election irregularities,               Formatted         ... [12]
election-related, fraud, or other election related malfeasance.”                                   Formatted         ... [13]
                                                                                                   Formatted         ... [14]
        r.      “From April 1, 2020, through January 20, 2021, all documents and                   Formatted         ... [15]
communications provided to you or Donald Trump referring to a stolen election, stealing            Formatted         ... [16]
the election, or a ‘rigged’ election.”
                                                                                                   Formatted         ... [17]


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            s.      “From November 3, 2020, through January 20, 2021, all documents and               0.5"
       communications related to the Twenty-Fifth Amendment to the U.S. Constitution.”                Formatted: Indent:
                                                                                                      Left: 0.5", First line:
              t.      “Any documents and communications relating to instructions to stop or           0.5", Numbered +
                                                                                                      Level: 1 + Numbering
       delay preparation for the transition of administrations.”                                      Style: a, b, c, … + Start
                                                                                                      at: 1 + Alignment: Left
                                                                                                      + Aligned at: 1.06" +
               u.      “All communications between White House personnel and General                  Indent at: 1.31"
       Services Administration (GSA) Administrator Emily Murphy or other GSA officials                Formatted: Indent:
       relating to ‘ascertainment’ under the Presidential Transition Act. This includes but is not    Left: 0.5", First line:
       limited to communications discussing the recognition of Joseph Biden as the winner of the      0.5"

       2020 Presidential election.”                                                                   Formatted: Indent:
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               v.     “All documents and communications concerning the potential invocation of        Level: 1 + Numbering
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       the Insurrection Act.”                                                                         at: 1 + Alignment: Left
                                                                                                      + Aligned at: 1.06" +
            w.      “From November 3, 2020, through January 20, 2021, all documents and               Indent at: 1.31"

       communications related to martial law.”                                                        Formatted: Indent:
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               x.    “All documents and communications concerning the use of Federal law              Formatted: Indent:
       enforcement or military personnel during voting or vote counting in the 2020 Presidential      Left: 0.5", First line:
       election.”                                                                                     0.5", Numbered +
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               y.    “Any documents and communications relating to foreign influence in the           at: 1 + Alignment: Left
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       United States 2020 Presidential election through social media narratives and                   Indent at: 1.31"
       disinformation.”                                                                               Formatted: Indent:
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              z.     “All documents and communications related to the January 3, 2021, letter
       from ten former Defense Secretaries warning of use of the military in election disputes.”      Formatted         ... [18]
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              aa.     “All documents and communications to or from the United States Secret           Formatted         ... [20]
       Service concerning individuals in attendance at the January 6 rally in body armor, ballistic   Formatted         ... [21]
       helmets, radio equipment, and ‘military grade’ backpacks.” See Ex. A.                          Formatted         ... [22]
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       52.73. The Meadows Subpoena directed PlaintiffMr. Meadows to produce all responsive            Formatted         ... [24]
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documents by October 7, 2021 at 10 AM, which wasonly two weeks after its issuance.
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                                                                                                      Formatted         ... [27]
       53.74. The Meadows subpoenaSubpoena also demanded that Mr. Meadows appearsappear
                                                                                                      Formatted         ... [28]
for a deposition to provide testimony at 2 PM on October 15, 2021.                                    Formatted: Font: Italic


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D.     Plaintiff’s efforts to accommodate



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E.     Mr. Meadows’s Efforts to Accommodate

       54.75. On October 6, former President Trump sent a letter to Mr. Meadows instructing         Formatted: Indent:
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him to maintain executive privilege in connection with any response to the Meadows Subpoena.        Level: 1 + Numbering
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The letter specifically instructed Mr. Meadows that he should                                       + Aligned at: 0.25" +
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       (a) where appropriate, invoke any immunities and privileges he may have from
       compelled testimony in response to the Subpoena; (b) not produce any documents
       concerning his official duties in response to the Subpoena; and (c) not provide any
       testimony concerning his official duties in response to the Subpoena.

       55.76. Having served as both a Member of Congress and as White House Chief of Staff,         Formatted: Indent:
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Mr. Meadows understands the importance of the Separation of Powers and of the accommodations        Level: 1 + Numbering
                                                                                                    Style: 1, 2, 3, … + Start
                                                                                                    at: 1 + Alignment: Left
process that has traditionally been used to try to resolve disputes over executive privilege. He    + Aligned at: 0.25" +
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therefore endeavored to find an accommodation that would allow him to provide information to

the Select Committee without violating clear precedent from the Department of Justice and former

President Trump’s claims of executive privilege.

       56.77. To that end, Mr. Meadows informed the Select Committee, through counsel, on

October 7 that he would likely require additional time to respond to the subpoena. Ex. B. He also   Formatted: Font: Bold


noted that many of the records responsive to the Select Committee’s subpoena were no longer in

his custody and control but were instead among the Presidential records held at the National

ArchivesNARA.

       57.78. In seeking to compel a deposition on October 15, the Select Committee offered Mr.

Meadows no opportunity to review any of the “thousands of pages of records” already produced

by other sources, many of which were potentially relevant to the Select Committee’s inquiry into

Mr. Meadows.

       58.79. Mr. Meadows promptly took steps to clarify the scope of the issues raised by the

subpoena.

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       59.80. On October 11, Mr. Meadows, through counsel, sent a letter to White House

Counsel Dana Remus seeking to clarify the position of the current White House. Ex. C. Among          Formatted: Font: Bold


other things, Mr. Meadows noted the longstanding position of the Executive Branch, reflected in

Attorney General opinions and opinions of the Office of Legal Counsel at the U.S. Department of

Justice, that current and former senior White House aides like Mr. Meadows are immune from

compelled congressional testimony. See, e.g., Testimonial Immunity Before Congress of the

Former Counsel to the President, O.L.C. slip op., at *2 (May 20, 2019) (“Testimonial Immunity

Before Congress”); Immunity of the Former Counsel to the President from Compelled

Congressional Testimony, 31 Op. O.L.C. 191, 192 (2007).

       60.81. In discussions through counsel in October, the White House declined either to

affirm or depart from its traditional position. Although the White House Counsel’s Office engaged

in conversations with Mr. Meadows regarding the subpoena process, it declined to formally

respond to Mr. Meadows’Meadows’s letter or to make any official representations regarding the

White House’s views on executive privilege or testimonial immunity.

       61.82. Despite the need to maintain executive privilege and concerns about the breadth of

the subpoena, Mr. Meadows continued to pursue the possibility of an accommodation that would

allow the Select Committee to obtain non-privileged information.

       62.83. On October 12, Mr. Meadows, through counsel, asked the Select Committee to

identify topics of inquiry on which he might be able to provide useful non-privileged information.

       63.84. On October 25, without any negotiation over a possible accommodation, Chairman

Thompson demanded full compliance with the subpoena under threat of contempt. Ignoring the

offers of accommodation from Mr. Meadows, he wrote: “It now appears that Mr. Meadows may

still believe that his appearance cannot be compelled and that his testimony is privileged. Given



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the impasse, the Select Committee must proceed and insist, pursuant to the subpoena, that Mr.

Meadows produce all responsive documents by November 5, 2021, and appear for testimony on

November 12, 2021.” Ex. D.                                                                                Formatted: Font: Bold


       64.85. Despite      the    Committee’s      complete     refusal    to   accommodate        Mr.

Meadows’Meadows’s concerns regarding executive privilege and his duty to preserve long-held

Executive Branch positions, Mr. Meadows remained willing to pursue accommodation.

       65.86. On November 3, he reiterated his position in a letter to the Select Committee,

informing it that he was “willing to explore with the Select Committee whether, outside the

confines of the subpoena, an accommodation could be reached by which he might be able to

answer, under agreed upon and appropriate circumstances, a limited set of questions that would

further a valid legislative purpose within the scope of the Select Committee’s inquiry.” Ex. E.           Formatted: Font: Bold


       66.87. In another letter through counsel on November 3, Mr. Meadows explained to the

Select Committee that he was working diligently to ensure any documents responsive to the

subpoena were either produced to the Select Committee or in the possession of the Archivist of

the United States pursuant to the Presidential Records Act of 1978. Ex. F.                                Formatted: Font: Bold


       67.88. On November 5, the Committee responded with overtures of a compromise but no

offer. Ex. G. Instead, it provided a list of topics it believed did not “implicate any cognizable claim   Formatted: Font: Bold


of executive privilege” and on which it intended to question Mr. Meadows. That list consisted of:

               1)      Messaging to or from the White House, Trump reelection campaign,                   Formatted: Indent:
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       party officials, and others about purported fraud, irregularities, or malfeasance in               0.5"
       the November 2020 election. This includes, but is not limited to, Mr. Trump’s and
       others frequent use of the “Stop the Steal” slogan, even after lawsuits,
       investigations, public reporting, discussions with agency heads, and internally
       created documents revealed that there had not been widespread election fraud

               2)      White House officials’ understanding of purported election-related
       fraud, irregularities, or malfeasance in the November 2020 election.



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         3)     Efforts to pressure federal agencies, including the Department of
Justice, to take actions to challenge the results of the presidential election, advance
allegations of voter fraud, interfere with Congress’s count of the Electoral College
vote, or otherwise overturn President Biden’s certified victory. This includes, but
is not limited to, Mr. Trump’s and others’ efforts to use the Department of Justice
to investigate alleged election-related conduct, file lawsuits, propose that state
legislatures take election-related actions, or replace senior leadership. It also
includes similar efforts at other agencies such as the Department of Homeland
Security, the Department of Defense, and, among others, the Cybersecurity and
Infrastructure Security Agency.

        4)      Efforts to pressure state and local officials and entities, including
state attorneys general, state legislators, and state legislatures, to take actions to
challenge the results of the presidential election, advance unsubstantiated
allegations of voter fraud, interfere with Congress’s count of the Electoral College
vote, de-certify state election results, appoint alternate slates of electors, or
otherwise overturn President Biden’s certified victory. This includes, but is not
limited to, an Oval Office meeting with legislators from Michigan, as well as a
January 2, 2021 call with, among others, state officials, members of Congress, Mr.
Trump, and Mr. Meadows.

        5)     Theories and strategies regarding Congress and the Vice President’s
(as President of the Senate) roles and responsibilities when counting the Electoral
College vote. This includes, but is not limited to, the theories and/or understandings
of John Eastman, Mark Martin, former Vice President Pence, and others.

        6)     Efforts to pressure former Vice President Pence, members of his
staff, and members of Congress to delay or prevent certification of the Electoral
College vote. This includes, but is not limited to, meetings between, or including,
the former Vice President, Mr. Trump, aides, John Eastman, members of Congress,
and others.

         7)     Campaign-related activities, including efforts to count, not count, or
audit votes, as well as discussions about election-related matters with state and local
officials. This includes, but is not limited to, Mr. Meadows’ travel to Georgia to
observe vote counting, as well as his or Mr. Trump’s communications with officials
and employees in the Georgia Secretary of State’s Office. This also includes similar
activities related to state and local officials in Michigan, Wisconsin, Nevada,
Arizona, and Pennsylvania.

        8)      Meetings or other communications involving people who did not
work for the United States government. This includes, but is not limited to, an Oval
Office meeting on December 18, at which Mr. Trump, Michael Flynn, Patrick
Byrne, and others discussed campaign-related steps that Mr. Trump purportedly
could take to change the outcome of the November 2020 election and remain in
office for a second term, such as seizing voting machines, litigating, and appointing

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a special counsel. It also includes communications with organizers of the January
6 rally like Amy Kremer of Women for America First.

        9)       Communications and meetings with members of Congress about the
November 2020 election, purported election fraud, actual or proposed election-
related litigation, and election-related rallies and/or protests. This includes, but is
not limited to, a December 21, 2021 meeting involving Mr. Trump, members of his
legal team, and members of the House and Senate, during which attendees
discussed objecting to the November 2020 election’s certified electoral college
votes as part of an apparent fight “against mounting evidence of voter fraud.”

       10)     Efforts by federal officials, including White House staff, Mr.
Trump, the Trump reelection campaign, and members of Congress to plan or
organize rallies and/or protests in Washington, D.C. related to the election,
including, but not limited to, the January 6 rally on the Ellipse.

       11)    Advance knowledge of, and any preparations for, the possibility of
violence during election-related rallies and/or protests in Washington, D.C.

        12)    Events in the days leading up to, and including, January 6. This
includes, but is not limited to, campaign-related planning and activities at the
Willard Hotel, planning and preparation for Mr. Trump’s speech at the Ellipse, Mr.
Trump and other White House officials’ actions during and after the attack on the
U.S. Capitol, and contact with members of Congress, law enforcement, the
Department of Defense, and other federal agencies to address or respond to the
attack.

        13)     The possibility of invoking martial law, the Insurrection Act, or the
25th Amendment based on election-related issues or the events in the days leading
up to, and including, January 6.

         14)    The preservation or destruction of any information relating to the
facts, circumstances, and causes relating to the attack of January 6th, including any
such information that may have been stored, generated, or destroyed on personal
electronic devices.

       15)     Documents and information, including the location of such
documents and information, that are responsive to the Select Committee’s
subpoena. This includes, but is not limited to, information stored on electronic
devices that Mr. Meadows uses and has used.

       16)      Topics about which Mr. Meadows has already spoken publicly. This
includes, but is not limited to, Mr. Meadows’ February 11, 2021, appearance on the
Ingraham Angle show to discuss the January 6 attack on the U.S. Capitol, Mr.
Trump’s reactions to the attack, and the National Guard.



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       68.89. Notwithstanding Chairman Thompson’s suggestion that this list implicated no              Formatted: Indent:
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“cognizable claim of executive privilege,” it expressly includes, among other things,                  Level: 1 + Numbering
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communications with the Vice President, two Oval Office meetings, White House                          + Aligned at: 0.25" +
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Officials’officials’ understanding of election security, and Mr. Meadows’Meadows’s

conversations with the President.

       69.90. Chairman Thompson also asserted that this list was “non-exclusive and may be

supplemented” but assured Mr. Meadows that the Select Committee did not intend to “seek

information from [him] unrelated to the 2020 election and what led to and occurred on January 6.”

       70.91. The letter then requested that Mr. Meadows provide his “input on the topics”

contained in the list no later than November 8, three days after the letter was sent.

       71.92. Mr. Meadows promptly responded on November 8 and sought clarification of the

Committee’s position in two respects: (1) whether the Committee was open to Mr. Meadows

providing written responses to interrogatories from the Select Committee in which he would

clearly articulate the basis for any assertion of executive privilege; and (2) whether the Committee

would be amenable to narrowing the topics of inquiry. Ex. H.                                           Formatted: Font: Bold


       72.93. On November 9, Chairman Thompson responded with a letter criticizing Mr.

Meadows for not setting forth his privilege objections in writing and stating that “it appears that

the accommodation process has reached its natural conclusion,” notwithstanding Mr.

Meadows’Meadows’s continued efforts to define the contours of an accommodation. Ex. I.                 Formatted: Font: Bold


       73.94. On November 10, Mr. Meadows responded to point out that he had, in fact, offered

written explanations of his positions on multiple occasions but that the Select Committee had

repeatedly refused in favor of live testimony with no opportunity for written responses. Ex. J.        Formatted: Font: Bold




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       74.95. On November 11, Chairman Thompson responded by baselessly accusing Mr.

Meadows of failing to negotiate in good faith and, in keeping with his previous positions, stated

that “there is no valid legal basis for Mr. Meadows’ continued resistance to the Select Committee’s

subpoena. As such, the Select Committee expects Mr. Meadows to produce all responsive

documents and appear for deposition testimony tomorrow, November 12, 2021, at 10:00 a.m.” Ex.         Formatted: Font: Bold


K.

       75.96. The same day—the day before the Select Committee’s scheduled deposition—Mr.

Meadows received a letter from the Deputy Counsel to the President informing him that President

Biden had determined that would not assert executive privilege with respect to certain categories

of testimony or documents. Ex. L.                                                                     Formatted: Font: Bold


       76.97. Consistent with his prior representations to the Select Committee, Mr. Meadows

did not appear for a deposition on November 12.

       77.98. Despite the previous breakdown in negotiations, Mr. Meadows continued his

attempts to reach an agreement with the Select Committee.

       78.99. On November 19, Mr. Meadows sent a letter to the Select Committee clearly

communicating a list of topics on which he would be willing to provide responses to written

interrogatories. Ex. M. He also noted that his “expectation would be that, after working through      Formatted: Font: Bold


this written process and after further consultation with counsel for the Select Committee, Mr.

Meadows could agree outside of compulsion by subpoena to appear voluntarily for a deposition

within the parameters established through the initial process.”

       79.100.        On November 22, the Monday before the Thanksgiving holiday, Chairman

Thompson again rejected Mr. Meadows’Meadows’s proposal to begin the accommodation process

with written interrogatories and reiterated his accusation that Mr. Meadows was not negotiating in



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good faith. Ex. N. He demanded that Mr. Meadows produce all responsive documents by Friday,          Formatted: Font: Bold


November 26—the day after Thanksgiving—and that he appear for a new deposition the following

Monday, November 29, at 10 AM. Chairman Thompson refused to commit to avoiding questions

that plainly implicate privilege, stating only that Select Committee intended to “begin by asking

questions address obviously non-privileged topics.” (Emphasis added.) While couched as an effort

“accommodation,” Chairman Thompson’s letter required Mr. Meadows to produce the same

information demanded by the subpoena in the same manner demanded by the subpoena with no

respect for executive privilege.

       80.101.         Believing that the Select Committee would act as it had promised, Mr.

Meadows agreed to appear for a deposition. Such deposition would necessarily be voluntary—that

is, not subject to the Select Committee’s compulsion and was expressly agreed to as such. It would

also be limited in scope to those matters the Select Committee believed to be outside the scope of

privilege. Counsel would be present for the deposition and able to assert claims of executive

privilege where appropriate, and Mr. Meadows’Meadows’s counsel would also have the

opportunity at least three business days in advance to review any documents the Select Committee

intended to show or question Mr. Meadows about during the deposition. Ex. O.                         Formatted: Font: Bold


       81.102.         The same day that Mr. Meadows agreed to appear before the Select

Committee for a voluntary deposition, his counsel made a generous initial document production

to the Select Committee. Ex. P. On that day, Mr. Meadows’Meadows’s counsel provided the              Formatted: Font: Bold


Select Committee non-privileged emails and other documents potentially responsive to the

subpoena, which were obtained from Mr. Meadows’Meadows’s personal Gmail account. This

initial production consisted of 1,139 documents and 6,836 total pages, along with a privilege log

for any documents withheld. Mr. Meadows’Meadows’s counsel also explained that it was in the



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process of reviewing Mr. Meadows’Meadows’s personal text messages, which were forthcoming

but delayed due to technical issues in retrieving this information.

       82.103.         The Select Committee accepted Mr. Meadows’Meadows’s offer to provide

a voluntary deposition on December 8, 2021 at 10 a.m.,AM, on the condition that Mr. Meadows

produce all documents responsive to the subpoena by December 3, 2021. Ex. Q. The Select              Formatted: Font: Bold


Committee also agreed to provide Mr. Meadows’Meadows’s counsel the documents it expected to

show or question Mr. Meadows about during the deposition.

       83.104.         Mr. Meadows’Meadows’s counsel worked diligently to produce all

responsive, non-privileged documents to the Select Committee by December 3, which it did. On

December 3, Mr. Meadows’Meadows’s counsel produced 2,319 text messages and metadata from

his personal cell phone to the Select Committee and provided a privilege log for any withheld text

messages. Mr. Meadows also produced 20 more documents recovered from Mr.

Meadows’Meadows’s personal computer. Ex. R.                                                          Formatted: Font: Bold


EF.    The Select Committee’s Verizon Subpoena

       84.105.         Mr. Meadows believed that the Select Committee would act in good faith        Formatted: Indent:
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and in accordance with their agreement that he appear for a voluntary deposition on issues outside   Level: 1 + Numbering
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the scope of executive privilege, until on December 4, 2021 he was blindsided by a letter from       + Aligned at: 0.25" +
                                                                                                     Indent at: 0.5"

Verizon Wireless, the carrier for his previous personal cell phone. Ex. S. The letter references a   Formatted: Font: Bold


cell phone registered to Meadows for Congress that was used by Mr. Meadows as his personal cell

phone during his tenure as White House Chief of Staff. It is also the same cell phone from which

Mr. Meadows’Meadows’s counsel had reviewed and produced records to the Select Committee

on December 3.




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       85.106.         The letter from Verizon Wireless relayed the fact that it had received a

subpoena (“Verizon subpoenaSubpoena”) from the Select Committee requesting certain phone

records. Verizon noted that it would comply with the subpoena by producing the records unless it

received “a court document challenging the subpoena by December 15, 2021.”

       86.107.         The Verizon subpoenaSubpoena, issued by the Select Committee on

November 22, 2021, instructs Verizon to produce subscriber information and cell phone data

associated with Mr. Meadows’s personal cell phone number. The subscriber information requested

includes subscriber names and contact information, authorized users, time of service provided,

account changes, associated IP addresses, and other metadata. The cell phone data requested could

include all calls, text messages, and other records of communications associated with that phone

number. This data can be used for historic cell site analysis. The Verizon subpoenaSubpoena

requested all Mr. Meadows’Meadows’s personal cell phone data for four months: from October 1,

2020 andto January 31, 2021.

       87.108.         The breadth and invasiveness of the Verizon subpoenaSubpoena also gave

the appearance ofappeared to Mr. Meadows more like a criminal investigation, not a legislative

fact-finding mission. It seeks private data used to track an individuala person’s communications

and location, information that would bear on ana criminal investigation into that individual, not on

potential legislation to be passed by Congress. It also requests this data for a period more than

three months prior to January 6, the ostensible focus of the Committee’s supposed legislative

recommendations.

       88.109.         Public reports released on December 7, 2021 indicate that the Select

Committee has issued subpoenas to collect the phone data of more than 100one hundred

individuals. See Zachary Cohen, et al., Exclusive: January 6 committee casts a wide net with over



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100        subpoenas         for        phone       records,      CNN          (Dec.     7,    2021)

https://www.cnn.com/2021/12/07/politics/january-6-committee-phone-records/index.html. This

type of investigation to analyze the location and communication, with the clear intent to determine

possible coordination between individuals, is reminiscent of a criminal investigation, not

legislative intentoversight.

         89.110.          Supporting Mr. Meadows’In his decision not to appear for the deposition,

Mr. Meadows also considered the December 2 statement of Chairman Thompson made a public

statement on December 2, 2021 that those who appear before his Select Committee and invoke

their Fifth Amendment privilege against self-incrimination are “part and parcel guilty to what

occurred.” Tim Hains, Jan. 6 Committee Chairman Bennie Thompson: If You Plead The Fifth,

You’re      “Part        &     Parcel     Guilty,     RealClear    Politics,      Dec.    2,   2021,

https://www.realclearpolitics.com/video/2021/12/02/january_6_committee_chairman_bennie_th

ompson_if_you_plead_the_fifth_youre_part_and_parcel_guilty.html.

         90.111.          Therefore, on December 7, 2021, counsel for Mr. Meadows provided

formal notice to the Select Committee that in light of the Verizon subpoenaSubpoena and

Chairman Thompson’s comments, Mr. Meadows must withdraw his offer to appear voluntarily for

a deposition. Ex. T. Counsel offered, again, that the Select Committee propound written                Formatted: Font: Bold


interrogatories on Mr. Meadows, such that he would be able to produce a clear record of his

answers to certain questions while asserting appropriate privileges.

         112.      In an apparent attempt to deflect from their own role in Mr. Meadows’s decision

not to appear, members of the Select Committee wrongly suggested that Mr. Meadows declined

to appear before the Select Committee because former President Trump was angry about Mr.




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Meadows’s newly released book. See, e.g., 167 Cong. Rec. H7645 (daily ed. Dec. 14, 2021)               Formatted: Font: Italic


(statement of Rep. Raskin).

       113.    The House of Representatives voted to refer Mr. Meadows to the Department of

Justice for contempt of congress on December 14, 2021.

       114.    During the floor debate in the House, Chairman Thompson accused Mr. Meadows

of being “part of a coverup” of January 6. Id. at H7785. Rep. Cheney read Mr. Meadows’s private

text messages aloud before making an unmistakable accusation that Mr. Meadows knew former

President Trump “through action or inaction, corruptly sought to obstruct or impede Congress'

official proceeding to count electoral votes.” Id. at H7786. Rep. Lofgren also read Mr. Meadows’s

text messages on the House floor, id. at H7788, as did Reps. Schiff, id. at H7791, Aguilar, id., and

Luria, id. at H7792. And in the weeks following the vote, Mr. Meadows’s private text messages

dominated the news cycle, as the Select Committee intended.

       115.    The Select Committee is the only plausible source of these leaked communications.

Aside from counsel, only the Select Committee and its members possess the Mr. Meadows’s

confidential production of emails and text messages. And neither Mr. Meadows nor his counsel

has provided these records to the press.

       Mr. Meadows has insisted the Select Committee maintain the confidentiality of his

                                    communications. See Ex.                                            Formatted: Font: Italic


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       116.    R.

       117.    The Select Committee and its members have not relented in their media campaign

against Mr. Meadows and other Trump advisors. On February 16, 2022, two undisclosed people—



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presumably from the Select Committee—leaked details to the Washington Post about Mr.

Meadows’s private communications. See Jacqueline Alemany, et al., Texting through an

insurrection,              Wash.               Post           (Feb.             16,          2022),

https://www.washingtonpost.com/politics/interactive/2022/texting-insurrection/.

        118.      As recently as March 24, 2022, the Select Committee leaked to the press

twenty-nine text messages between Mr. Meadows and Virginia (“Ginni’) Thomas, a conservative

public figure and the wife of Supreme Court Justice Clarence Thomas. Bob Woodward & Robert

Costa, Virginia Thomas urged White House chief to pursue unrelenting efforts to overturn the

2020       election,       texts       show,          Wash.    Post     (Mar.         24,    2022),

https://www.washingtonpost.com/politics/2022/03/24/virginia-thomas-mark-meadows-texts/.

Democrats wasted no time, using this opportunity to call for Justice Thomas’s resignation. Giulia

Carbonaro, Ilhan Omar Says Clarence Thomas Needs to Be Impeached Over Wife's Texts,

Newsweek (Mar. 25, 2022),             https://www.newsweek.com/ilhan-omar-says-clarence-thomas-

needs-impeached-over-wife-texts-1691809.

        119.      These recent efforts by the Select Committee show the Select Committee’s true

motives. Its objectives are not as set forth in H. Res. 503. Rather, it is clear that the Select

Committee and its members are pursuing Mr. Meadows in an effort to expose and embarrass their

partisan rivals for political gain.

                       REASONS WHY THE SUBPOENAS ARE INVALID

A.      The subpoenas are not validly issuedSubpoenas Are Not Validly Issued by a duly

authorized committeeDuly Authorized Committee.
                                                                                                       Formatted: Indent:
        91.120.          The composition of the House Select Committee to Investigate the January      Left: 0", First line:
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6th Attack on the United States Capitol is governed by Section 2 of H. Res. 503. Section 2(a) states   Style: 1, 2, 3, … + Start
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“Appointment Of Members.—The Speaker shall appoint 13 Members to the Select Committee, 5

of whom shall be appointed after consultation with the minority leader.” H. Res. 503 117th Cong.

(2021).

          92.121.      Speaker Pelosi has appointed only nine members to the Select Committee:

seven Democrats and two Republicans. None of these members was appointed from the selection

of five GOP congressman put forth by Minority Leader Kevin McCarthy.

          93.122.      Authorized congressional committees have subpoena authority implied by

Article I of the Constitution. McGrain v. Daugherty, 273 U.S. 135, 174 (1927). The Select

Committee, however, is not an authorized congressional committee because it fails to comport

with its own authorizing resolution, House Resolution 503.

          94.123.      Congress’ failure to act in accordance with its own rules is judicially

cognizable. Yellin v. United States, 374 U.S. 109, 114 (1963). This is particularly significant where

a person’s fundamental rights are involved.

          95.124.      Speaker Pelosi failed to appoint members consistent with the authorizing

resolution of the Select Committee. Pelosi has appointed only nine members of Congress to serve

on the Select Committee; whereas the authorizing resolution instructs the Speaker “shall” appoint

thirteen members. H. Res. 503 § 2(a), 117th Cong. (2021).

          96.125.      Further, of those nine members Speaker Pelosi has appointed, none of them

was appointed after consultation with the minority member, as is required by the authorizing

resolution. H. Res. 503 § 2(a), 117th Cong. (2021).

          97.126.      Thus, the Select Committee as it currently stands—and stood at the time it

issued the subpoenas in question—has no authority to conduct business because it is not a duly

constituted Select Committee. Chairman Thompson’s subpoenas are invalid and unenforceable.



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       98.127.         Chairman Thompson derives the authority to issue subpoenas solely from

§ 5(c)(6) of the Select Committee’s authorizing statute, but this authority is qualified, not absolute.

The Select Committee chairman may not order the taking of depositions without consultation with

the ranking minority member of the Select Committee.

       99.128.         As the Select Committee has no ranking minority member, Chairman

Thompson failed to make the requisite consultation before issuing the subpoena that compelled

Mr. Meadows to appear for a deposition. The ordering of Mr. Meadows’Meadows’s deposition

runs afoul of the Select Committee’s authorizing resolution, making it invalid and unenforceable.

The Select Committee and its members are amenable to suit for their ultra vires actions in issuing
       and enforcing the Meadows Subpoena. See Clark v. Libr. of Cong., 750 F.2d 89 (D.C. Cir.
       1984); Judicial Watch, Inc. v. B.  The subpoenas are not issued to further a valid                 Formatted: Border: :
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       legislative purpose.

       100.      The subpoenas issued to Mark Meadows and Verizon were issued by the Select

Committee as part of an unconstitutional attempt to usurp the Executive Branch’s authority to

enforce the law and to expose what the Select Committee believes to be problematic actions by a

political opponent. Congress has no authority to issue subpoenas for these purposes.

       129.      Schiff, 474 F. Supp. 3d 305 (D.D.C. 2020).

B.     The Select Committee Did Not Issue the Subpoenas to Further a Valid Legislative
       Purpose.

       101.130.        Congress has no freestanding power to investigate and issue subpoenas.             Formatted: Indent:
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Instead, its investigative powers are ancillary to its legislative authority. Trump v. Mazars USA,        Level: 1 + Numbering
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LLP, 140 S. Ct. 2019, 2031 (2020). Because of this tie between the investigative and legislative          + Aligned at: 0.25" +
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powers, Congress may only issue subpoenas that serve a valid legislative purpose.

       102.      Law enforcement and the punishment of perceived legal wrongs are not valid

legislative purposes. To the extent Congress seeks to utilize subpoenas to investigate and punish



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perceived criminal wrongdoing, it unconstitutionally intrudes on the prerogatives of the Executive

Branch.

        103.    Similarly, a desire to “expose for the sake of exposure” cannot sustain a

congressional subpoena. Watkins v. United States, 354 U.S. 178, 200 (1957). Bringing information      Formatted: Font: Italic


to light for the sake of bringing it to light is not a valid legislative end.

        104.    Even if Congress uses a subpoena to seek information relevant to contemplated

legislation, the subpoena may still be invalid if the contemplated legislation would be

unconstitutional—such as an impermissible limit on the conduct or authority of the executive. See

McGrain v. Daugherty, 273 U.S. 135, 171 (1927); Kilbourn v. Thompson, 103 U.S. 168, 195               Formatted: Border: :
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(1880); Nixon v. Fitzgerald, 457 U.S. 731, 749 (1982).

        105.131.        The legislative purpose inquiry analyzes whether a particular subpoena        Formatted: Indent:
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serves a valid purpose, not whether an investigation as a whole serves a valid purpose. See id.       Level: 1 + Numbering
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atTrump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020)..                                            + Aligned at: 0.25" +
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        132.    Though there may be legitimate purposes for the Select Committee’s investigation,

the Meadows Subpoena extends far beyond the scope of any legitimate legislative purpose.

        133.    The Supreme Court has emphasized the need for specificity in Congress’s stated

legislative purpose. See id. at 2036. And in cases concerning the President, whom Mr. Meadows

advised, “it is ‘impossible’ to conclude that a subpoena is designed to advance a valid legislative

purpose unless Congress adequately identifies its aims.” Id. at 2036.

        106.134.        The Select Committee has failed to identify any legislative purpose served    Formatted: Indent:
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by the Meadows Subpoena. It has not consideredconsider or recommend any draft legislation             Level: 1 + Numbering
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related to the topics provided in the Meadows Subpoena, nor has it provided any explanation for       + Aligned at: 0.25" +
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whyhow its requests to Mr. Meadows would further any validspecific legislative end.



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       107.    The Select Committee included one stated legislative purpose in the Meadows

Subpoena: to “recommend to the House and its relevant committees corrective laws, policies,

procedures, rules, or regulations.” This statement could not conceivably be more impermissibly

“vague” and “loosely worded.” Watkins v. United States, 354 U.S. 178, Instead of identifying any       Formatted: Font: Italic


valid end or proposed legislation, the Select Committee has issued public statements explicitly

identifying law enforcement and the desire to expose for the sake of exposure as its motivations

for subpoenaing Mr. Meadows.

       108.    Chairman Thomas and Vice-Chair Cheney have reiterated in their public statements

that the purpose of their investigation is to ensure “those responsible are held accountable,” to

“tell[] the complete story of the unprecedented and extraordinary events ofௗJanuary 6th,” and to

“get answers for the American people about what happened on January 6th.” The Law Enforcement

Experience on January 6th: Hearing Before the H. Select Committee to Investigate the January

6th Attack on the United States Capitol, 117th Cong. (2021) Statement of Elizabeth Cheney, Vice-

Chair); Press Release, Thompson & Cheney Statement on Pentagon Officials’ Reported Actions

After January 6th (Sept. 16, 2021); Press Release, Thompson Statement on Cooperation of

Witnesses (Oct. 14, 2021).

       109.    The Select Committee’s authorizing resolution also fails to identify its legislative

purpose. It is vague to the point of meaninglessness, authorizing the Select Committee to

“investigate the facts, circumstances, and causes relating to the domestic terrorist attack on the

Capitol, including facts and circumstances relating to… entities of the public and private sector as

determined relevant by the Select Committee for such investigation.”

       110.    Nor is the nature of the information sought by the subpoena of a kind that would

further a valid legislative purpose.



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        135.    201 (1957). It is exactly the type of authority the Supreme Court criticized in

Watkins, where a committee tried “in essence, to define its own authority, to choose the direction

and focus of its activities.” Id. at 205.

        111.    The subpoena seeks Executive Branch deliberative material, information both

temporally and logically disconnected from the events of January 6, and information that is

irrelevant to any conceivable legislation.

        136.    This The Select Committee seeks to “radiate outward infinitely to any topic thought

to be related in some way” to January 6. Id. at 204. The requested information has no bearing on

any contemplated constitutional legislation. It is relevant

        137.    One need only look to serve“[t]he authorizing resolution, the remarks of the          Formatted: Font:
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chairman or members of the committee, or even the nature of the proceedings themselves” to see        Formatted: Font:
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the Select Committee’s statedtrue purpose of engaging. Watkins, 354 U.S. at 209.                      Times New Roman
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        112.138.        Any generalized purported legislative purpose for Mr. Meadows’s               Times New Roman
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testimony is entirely pretextual and unsupported by the statements and actions of members of the      Left: 0", First line:
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Select Committee. The subpoenas are relevant only to serve the purpose that members of the Select     Style: 1, 2, 3, … + Start
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Committee have stated time and again: to engage in ad-hoc law enforcement and its unstated            Indent at: 0.5"


purpose of antagonizing its expose possible wrongdoings of their political adversary. See supra ¶¶

26-39. Neither are permissible.

C.      The Select Committee seeks to use an excessively broad third-party subpoenas to
        obtain personal cell phone data.

        139.    The Verizon A desire to “expose for the sake of exposure” cannot sustain a

congressional subpoena. Id. at 200. Publicizing information with the goal of satiating public

interest is not a valid legislative purpose.




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       140.    Mr. Meadows provided the Select Committee thousands of documents it could have

reviewed and attempted to legislate on, but instead its members have waged a public campaign

against Mr. Meadows, exposing his private documents for purposes of exploitation,

self-aggrandizement, and political gain. None of these constitutes a legitimate legislative end.

       141.    The Select Committee made its goals abundantly clear during the December 14,

2021 House floor debate when its members took turns reading aloud Mr. Meadows’s text

messages. See supra ¶ 101. Their goal that day was not to legislate—as it so rarely is—but rather

to expose Mr. Meadows’s private communications and frame the narrative that President Trump

and his advisors engaged in wrongdoing.

       142.    And the Select Committee’s attempts to expose Mr. Meadows are ongoing. The

Washington Post article published February 12, 2022 clearly indicates the Select Committee and

its staff have no interest in legislating, but rather seek to leak private communications between Mr.

Meadows, his friends, co-workers, and even an attorney. Such efforts are intended only to expose

and embarrass Mr. Meadows and others, while condemning the Republican party as a whole. See

Jacqueline Alemany, et al., Texting through an insurrection, Wash. Post (Feb. 16, 2022),

https://www.washingtonpost.com/politics/interactive/2022/texting-insurrection/ (“The messages

also serve as a stark contrast to the swell of GOP efforts over the past year to play down the danger

of the Capitol riot and discredit the work of the committee.”).

       143.    Nor are law enforcement and the punishment of perceived legal wrongs valid

legislative purposes. “Congress may not issue a subpoena for the purpose of ‘law enforcement,’

because ‘those powers are assigned under our Constitution to the Executive and the Judiciary.’”

Mazars, 140 S. Ct. at 2032 (quoting Quinn v. United States, 349 U.S. 155, 161 (1955)). To the




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extent Congress seeks to use subpoenas to investigate and punish perceived criminal wrongdoing,

it unconstitutionally intrudes on the prerogatives of the Executive Branch.

        144.   The statements and actions of members of the Select Committee show the true goals

of their investigation are to provide “justice” and “hold [] accountable” former President Trump

and those who advised him. See Bennie Thompson (@BennieGThompson), Twitter, (Jan. 6, 2022

8:31   AM),    https://twitter.com/BennieGThompson/status/1479083311163232258;         Stephanie

Murphy (@RepStephMurphy), Twitter (Jan. 10, 2021 12:44 PM) . See also supra ¶¶ 26-39.

        145.   But the Select Committee’s law enforcement initiative was most evident at a Select

Committee meeting when Rep. Cheney recited—nearly verbatim—the elements of criminal

obstruction. Compare 167 Cong. Rec. H7786 (daily ed. Dec. 14, 2021) (statement of Rep. Cheney)

(“Did Donald Trump, through action or inaction, corruptly seek to obstruct or impede Congress’

official proceeding to count electoral votes?”), with 18 U.S.C. § 1505.

        146.   Congress has exceeded its authority to issue subpoenas by failing to offer any

explanation as to how Mr. Meadows’s testimony may further their legislative interests, and any

pretextual legislative purpose has been controverted by the statements and actions of the Select

Committee.

C.      The Select Committee Seeks to Use an Excessively Broad Third-Party Subpoena to
        Obtain Personal Cell Phone Data.

        113.147.      The Verizon Subpoena also seeks information unrelated to any potential        Formatted: Indent:
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legislation.                                                                                        Level: 1 + Numbering
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        114.148.      The Verizon subpoenaSubpoena seeks Mr. Meadows’Meadows’s cell                 + Aligned at: 0.25" +
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phone metadata, despite the fact that he has already provided the Select Committee with his         together


responsive text messages, emails, and the metadata attached thereto.




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        115.149.        The only additional information that could be gleaned by the Verizon

subpoenaSubpoena is either privileged or concerns Mr. Meadows’Meadows’s internet protocol

and data-connection detail records.

        150.    Mr. Meadows’s location and IP records dating back to the October 1, 2020 would

not serve to inform any valid legislative action. There is simply no way that kind of granular

information about a senior Executive official could serve Congress in the permissible execution of

its constitutional functions.

        116.151.        The subpoena is also sufficiently broad to sweep in privileged details         Formatted: Indent:
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regarding Mr. Meadows’s communications with his attorneys and his communications and actions           Level: 1 + Numbering
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as a senior executiveExecutive official.                                                               + Aligned at: 0.25" +
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        117.    Further, the Verizon Subpoena would capture cellular data that does not “pertain to

presidential activities on or around January 6th, or surrounding the election and its aftermath.”

Trump v. Mr. Meadows’ location and IP records dating back to the October 1, 2020 would not

serve to inform any valid legislative action. There is simply no way that kind of granular

information about a senior executive official could serve Congress in the permissible execution of

its constitutional functions.

        152.    Thompson, 20 F.4th 10, 43 (D.C. Cir. 2021). In fact, a subpoena for cellular data of

a personal phone inherently involves data that is “strictly personal.” See id.

        153.    In addition to seeking information that could not possibly bear on the passage of

any law, the Verizon subpoenaSubpoena represents a novel and sweeping vision of Congressional

investigative authority—the.




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       118.     The Select Committee has taken it upon itself to subpoena a third-party corporation

in order to ascertain the precise location of the White House Chief of Staff over a more-than-four-

month period.

       119.154.         This subpoena represents an attempt to extend Congressional fact-finding      Formatted: Indent:
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authority beyond even the powers of the Executive Branch, which cannot obtain this kind of            Level: 1 + Numbering
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information without a warrant. And it does so with barely a perfunctory attempt at identifying a      + Aligned at: 0.25" +
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legislative purpose.

CD.    The Select Committee cannot obtain recordsCannot Obtain Records under the
       Verizon Subpoena consistentConsistent with the Stored Communications Act.

       120.155.        The Stored Communications Act prohibits the Select Committee from              Formatted: Indent:
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obtaining the subpoenaed records from Verizon.                                                        Level: 1 + Numbering
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       121.156.        To the extent the Select Committee is seeking production of the contents of    + Aligned at: 0.25" +
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communications, that request is prohibited under Section 2702(a)(1) of Title 18.

       122.157.        The Stored Communications Act generally provides that “a person or entity

providing electronic communication service to the public shall not knowingly divulge to any

person or entity the contents of a communication while in electronic storage by that service.” 18

U.S.C. § 2702(a)(1).

       123.158.        Verizon is “a person or entity providing electronic communication service

to the public” within the meaning of the Stored Communications Act.

       124.159.        The Select Committee qualifies as “any person or entity” within the

meaning of the Stored Communications Act.

       125.160.        Section 2702(a)(1) therefore prohibits knowing disclosure of “the contents

of a communication” stored by Verizon to the Select Committee absent an express statutory

exception outlined in Section 2702(b).


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        126.161.        None of the statutory exceptions in Section 2702(b) applies to the Select

Committee’s subpoena.

        127.162.        To the extent the Select Committee is seeking production of

non-communication records and information, that request is prohibited under Section 2702(c) of

Title 18.

        128.163.        The Stored Communications Act provides that “[a] provider described in

[Section 2702(a)] may divulge a record or other information pertaining to a subscriber to or

customer of such service (not including the contents of communications covered by subsection

(a)(1) or (a)(2))” if one of seven criteria is met.

        129.164.        Mr. Meadows is “a subscriber to or customer of [Verizon’s] service” within

the meaning of the Stored Communication Act.

        130.165.        The Select Committee cannot obtain the subpoenaed records under Section

2702(c)(1) because disclosure would not be “as otherwise authorized in section 2703.” 18 U.S.C.

§ 2702(c)(1). Specifically, on information and belief, the Select Committee has not obtained and

cannot obtain “a warrant issued using the procedures described in the Federal Rules of Criminal

Procedure . . . by a court of competent jurisdiction,” as would be required to obtain records “in

electronic storage in an electronic communications system for one hundred days or less.” Id. §

2703(a). Nor has the Select Committee provided Mr. Meadows with “prior notice” and obtained

either (i) “an administrative subpoena authorized by a Federal or State statute or a Federal or State

grand jury or trial subpoena” or (ii) “a court order,” as would be required to obtain records “in

electronic storage . . . for more than one hundred and eighty days.” Id. § 2703(a), (b)(1).

        131.166.        The Select Committee does not have lawful consent to obtain the

subpoenaed records. See id. § 2702(c)(2).



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       132.167.       The Select Committee does not constitute or represent “a law enforcement

agency” within the meaning of the Stored Communications Act. Id. § 2702(c)(7).

       133.168.       The Select Committee may represent a “governmental entity” but, on

information and behalf, have not shown and cannot demonstrate “in good faith” “that an

emergency involving danger of death or serious physical injury to any person requires disclosure

without delay of information relating to the emergency.” Id. § 2702(c)(4), (6).

       134.169.       No other exception in Section 2702(c) would authorize the Select

Committee to obtain the subpoenaed records.

D.     The subpoenas violate executive privilege.

E.     The Subpoenas Violate the Separation of Powers by Infringing Upon Executive
       Privilege.

       135.170.       The Select Committee’s subpoena to Mr. Meadows unlawfully seeks              Formatted: Indent:
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information covered by executive privilege and improperly attempts to compel testimony by a        Level: 1 + Numbering
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senior Executive Branch official.                                                                  + Aligned at: 0.25" +
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       136.171.       During his time as Chief of Staff, Mr. Meadows was among the most senior

Executive Branch officials and his communications and deliberations were covered by executive

privilege.

       137.172.       That privilege reaches Mr. Meadows’Meadows’s communications “in the

course of preparing advice for the President,” In re Sealed Case, 121 F.3d 729, 752 (D.C. Cir.

1997) and any materials that reveal his or other executive officials’ predecisional deliberative

processes. See Army Times Publ'g Co. v. Department of the Air Force, 998 F.2d 1067, 1070 (D.C.

Cir. 1993).

       138.173.       The subpoena served on Mr. Meadows clearly seeks information protected

by executive privilege.


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       139.174.        Among other things, the subpoena expressly requests summaries of Mr.

Meadows’Meadows’s conversations with the President, records of his conversations with other

senior executive officials, and the contents of advice provided to the President by his senior

advisors.

       140.175.        Throughout the course of negotiations regarding potential accommodations,

the Select Committee has repeatedly clarified that the subpoena seeks privileged information.

       141.176.        Most notably, the Select Committee provided Mr. Meadows with a list of

topics for his deposition, informing him that it believed these topics did not “implicate any

cognizable claim of executive privilege.” That list expressly included Mr. Meadows’Meadows’s

conversations with the President, his communications with the Vice President, two Oval Office

meetings, and White House Officials’ deliberations regarding election security. See Ex. G,         Formatted: Font: Bold


November 5, 2021 Letter from Chairman Bennie Thompson to counsel for Mr. Meadows.

       142.177.        Mr. Meadows’Meadows’s conversations with the President, Vice President,

and other senior executive officials are covered by executive privilege, as is any information

regarding executive officials’ deliberative processes regarding election security.

       143.178.        The subpoena’s twenty-seven demands also demand substantial amounts of

privileged information not specifically enumerated here.

       144.179.        Despite Mr. Meadows’Meadows’s good faith attempts to negotiate with the

Select Committee to provide relevant, nonprivileged information, the Select Committee has

insisted on pursuing the full breadth of information identified in the subpoena.

       145.180.        When a congressional committee uses its subpoena power to seek

information covered by executive privilege, the subpoena will only be enforced where “the

subpoenaed evidence is demonstrably critical to the responsible fulfillment of the Select



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Committee's functions.” Senate Select Comm. on Presidential Campaign Activities v. Nixon, 498

F.2d 725, 731 (D.C. Cir. 1974).

          146.181.     The information sought by the Select Committee is not demonstrably

critical to its functions as it is not relevant to any legislative purpose and could be obtained from

alternative sources.

          147.182.     As alleged previously, the information is not relevant to a valid legislative

purpose.

          148.183.     Additionally, the vast majority of the information sought by the Select

Committee could be obtained from other sources. Very little, if any, of the information sought by

the Select Committee is in Mr. Meadows’Meadows’s sole possession. Much of it could obtained

via subpoenas to individuals outside the Executive Branch or individuals who lie farther from the

core of executive privilege.

          149.184.     The subpoena also purports to compel Mr. Meadows to appear and give

testimony regarding the topics identified therein.

          185.   E.    The Select Committee violates longstanding testimonial immunity for

senior advisors to the President.The Select Committee has confirmed that its subpoena violates

the Separation of Powers by seeking and obtaining a purported “waiver” of executive privilege

from President Biden. That purported waiver, however, does not vitiate Mr. Meadows’s assertion

of privilege at the direction of former President Trump. “A former President must be able to

successfully invoke the Presidential communications privilege for communications that occurred

during his Presidency, even if the current President does not support the privilege claim.” Trump

v. Thompson, 142 S. Ct. 680, 680 (2022) (statement of Kavanaugh, J., respecting denial) (emphasis

added).



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F.     The Subpoenas Violate the Separation of Powers by Infringing Upon the
       Longstanding Testimonial Immunity for Senior Advisors to the President.

       150.186.        Senior executive officials are immune from such compelled testimony              Formatted: Indent:
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because of their close relationship to the President and attending importance with respect to the       Level: 1 + Numbering
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operation of the executive and relationship between the branches of government. Immunity of the         + Aligned at: 0.25" +
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Assistant to the President, 38 Op. O.L.C. 5, 1 (2014); Immunity of the Former Counsel, 31 Op.

O.L.C. 191, 191 (2007); Assertion of executive privilege with Respect to Clemency Decision, 23

Op. O.L.C. 1, 4 (1999); Immunity of the Counsel to the President from Compelled Congressional

Testimony, 20 Op. O.L.C. 308, 308 (1996).

       151.187.        Because Mr. Meadows as Chief of Staff at the White House was so

inextricably involved in the President’s decision-making, “[s]ubjecting [him] to the congressional

subpoena power would be akin to requiring the President himself to appear before Congress on

matters relating to the performance of his constitutionally assigned executive functions.” Assertion

of executive privilege, 23 Op. O.L.C. at 5.

       152.188.        Despite Mr. Meadows’Meadows’s role as Chief of Staff, the Select

Committee, both implicitly in its subpoena and explicitly in its letters to Mr. Meadows, has rejected

any claim of testimonial immunity, demanded that Mr. Meadows appear for testimony, and

threatened to refer him for contempt of Congress if he declines.

       153.189.        This demand and the attending threat contravene Mr. Meadows’Meadows’s

testimonial immunity as a senior executive official.

EG.    Compelled productionProduction under the Verizon Subpoena would violateWould
       Violate the Fourth Amendment.
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       154.190.        The Verizon Subpoena instructs Verizon to produce subscriber information         Left: 0", First line:
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and cell phone data associated with the phone number previously used by Mr. Meadows.                    Style: 1, 2, 3, … + Start
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       155.191.         On December 5, 2021, Mr. Meadows received a letter dated December 2

from Verizon Security Subpoena Compliance notifying him of its duty to comply with the

subpoena. The letter provided that Verizon would comply with the subpoena unless it “receives a

court document challenging the subpoena by December 15, 2021.”

       156.192.         This cell phone number was used by Mr. Meadows as his personal cell

phone during his tenure as White House Chief of Staff.

       157.193.         The subscriber information requested includes subscriber names and

contact information, authorized users, time of service provided, account changes, associated IP

addresses, and other metadata.

       158.194.         The cell phone data requested includes all calls, text messages, and other

records of communications associated with that phone number.

       159.195.         This data can be used for historic cell site analysis.

       160.196.         The requested data covers four full months: October 1, 2020 through

January 31, 2021.

       161.197.         Mr. Meadows produced to the Select Committee on December 3, 2021

content, including metadata, from this cell phone that was responsive to his September 23, 2021

subpoena.

       162.198.         Mr. Meadows has a reasonable expectation of privacy in his personal cell

phone data.

       163.199.         The Fourth Amendment enumerates the right of private individuals to be

free from unreasonable search and seizure by the government into their persons, houses, papers,

and effects. It also protects a person’s reasonable privacy expectations. Katz v. United States, 389

U.S. 347, 351 (1967).



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        164.200.         The fact that a third party at least temporarily stores a person’s cell phone

data does not alter his expectation or its reasonableness. Carpenter v. United States, 138 S. Ct.

2206, 2217 (2018).

        165.201.         The Fourth Amendment restricts the ability of the Select Committee to issue

sweeping subpoenas untethered from any valid legislative purpose. See Oklahoma Press Pub. Co.

v. Walling, 327 U.S. 186, 196 (1946) .

        166.202.         If the government, including the Select Committee, seeks to obtain

documents or data protected by the Fourth Amendment, it must be obtained by consent or

otherwise authorized by law. Mr. Meadows has not provided his consent for Verizon to produce

his cell phone data to the Select Committee. And for the reasons discussed infra, the Select

Committee’s subpoenas are invalid.

        167.203.         A congressional subpoena must be reasonable. An all-encompassing

subpoena for personal, nonofficial documents falls outside the scope of Congress’ legitimate

legislative power. See Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2040 (2020).

        168.204.         The Select Committee’s subpoena to both Verizon and Mr. Meadows are so

broad and indefinite as to exceed the lawfully authorized purpose of the Select Committee. See

McPhaul v. United States, 364 U.S. 372, 381 (1960). The subpoena to Verizon, in particular,

contains no limitations seeking to preserve applicable privileges or prevent violations of

constitutional rights.

        169.205.         For   the   Select   Committee    to   subpoena    Verizon    for   all   Mr.

Meadows’Meadows’s personal cell phone data over the course of four months is entirely

unreasonable. Such a request is so broad both temporally and with respect to the collected data,

that the Select Committee exceeds any lawfully authorized purpose.



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       170.206.        Likewise,      the    Select     Committee’s      subpoena     seeking     Mr.

Meadows’Meadows’s documents and testimony throughout the course of his entire tenure as

White House Chief of Staff is overly broad. The request is overly broad with respect both to the

timeframe and the subject matters in question. It exceeds any authorized purpose of the Select

Committee.

       171.207.        As the subpoenas in question exceed the lawfully authorized purpose of the

Select Committee, full compliance with such subpoenas would violate Mr. Meadows’Meadows’s

Fourth Amendment protection against unlawful search and seizure. The subpoenas are thus invalid

and unenforceable.

FH.    Compelled productionProduction of cell phone dataCell Phone Data under the
       Verizon Subpoena would violateWould Violate the First Amendment.

       172.208.        The subpoena of Mr. Meadows’Meadows’s private cell phone data violates            Formatted: Indent:
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his right to free association and chills the exercise of free speech rights.                             Level: 1 + Numbering
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       173.209.        The Committee’s subpoena of Verizon identifies Mr. Meadows’Meadows’s              + Aligned at: 0.25" +
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personal cell phone number and requests the data associated with it—data which Mr. Meadows

has already provided with respect to his responsive documents.

       174.210.        Additionally, Mr. Meadows used his personal phone to engage in protected

advocacy and other speech, including privileged speech with his attorneys and spouse.

       175.211.        Mr. Meadows also used his personal phone to engage in private

conversations with friends and family.

       176.212.        All of these associational and expressive activities are protected by the First

Amendment. See Buckley v. Valeo, 424 U.S. 1, 64 (1976); Black Panther Party v. Smith, 661 F.2d

1243, 1267 (D.C. Cir. 1981); Am. Fed'n of Lab. & Cong. of Indus. Organizations v. Fed. Election

Comm'n, 333 F.3d 168, 179 (D.C. Cir. 2003).


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       177.213.        The Committee has no legitimate purpose for seeking the protected

information demanded by the subpoena. Mr. Meadows has already provided the Committee with

the substance and metadata of his responsive emails and text messages. Additional information

will not meaningfully aid the Committee in any valid pursuit.

       178.214.        Even if had a valid reason to seek protected information, the Committee has

put in place no safeguards to protect Mr. Meadows’Meadows’s rights. It provided Mr. Meadows

with no notice of the subpoena and has provided him with no opportunity to assert claims of

privilege or other legal protections over the demanded information. It also has no provisions for a

taint team or analogous filter for privileged information. The entirety of the demanded information,

including that which is constitutionally or otherwise protected, will be turned over to the

Committee to do with as it pleases.

       179.215.        The Verizon subpoena is also a clear effort to chill the speech of the

Committee Member’s political adversaries.

       180.216.        The body that issued this subpoena is composed of 9 members, 7 of whom

belong to the political party that opposed the President under which Mr. Meadows served.

       181.217.        As noted above, the subpoena served no substantive purpose in the

Committee’s investigation—it will not turn up any new relevant information.

       182.218.        Allowing an entirely partisan select committee of Congress to subpoena the

personal cell phone data of executive officials would work a massive chilling of current and future

Executive Branch officials’ associational and free speech rights

       183.219.        The Committee’s asserted interest is insufficient and its alternative means

of obtaining this information are too obvious to justify such a drastic chilling of speech




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                                       PRAYER FOR RELIEF

       Wherefore, Plaintiff asks the Court to enter judgment in his favor and against Defendants

and to order the following relief:

               a.      A declaratory judgment that the Meadows Subpoena and the Verizon            Formatted: Indent:
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       Subpoena are ultra vires, unlawful, and unenforceable;

               b.      A declaratory judgment that the Meadows Subpoena and the Verizon

       Subpoena serve no valid legislative purpose and exceed the Select Committee’s

       Constitutional authority;

               c.      A declaratory judgment that compliance with the Verizon Subpoena would

       violate the Stored Communications Act;

               d.      A declaratory judgment that the Meadows Subpoena improperly compels

       testimony of a senior executive official;

               e.      A declaratory judgment that the Verizon Subpoena violates Mr. Meadows

       First Amendment rights;

               f.      A declaratory judgment that the Verizon Subpoena violates Mr. Meadows

       Fourth Amendment rights;

               g.      In the alternative, an order modifying the Meadows Subpoena and the

       Verizon Subpoena to seek only unprivileged information that does not infringe on Mr.

       Meadows’s constitutional rights;

               h.      In the alternative, a declaration that Mr. Meadows may validly assert

       executive privilege over communications and deliberations related to his service of the

       President;




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              i.       An injunction quashing the Meadows Subpoena and the Verizon Subpoena

       and prohibiting their enforcement by Defendants;

              j.       An injunction prohibiting Defendants from imposing sanctions for

       noncompliance with the Meadows Subpoena and/or the Verizon Subpoena;

              k.       An injunction prohibiting Defendants from inspecting, using, maintaining,

       or disclosing any information obtained as a result of the Meadows Subpoena and/or the

       Verizon Subpoena;

              l.       An award in favor of Plaintiff for his reasonable expenses, including

       attorneys’ fees and costs, incurred as a result of the Meadows Subpoena and Verizon

       Subpoena; and

              m.       Any and all other relief that the Court deems just and proper.




Dated: April 1, 2022                                 Respectfully submitted,
                                                     MARK MEADOWS

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                               By Counsel

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                                CERTIFICATE OF SERVICE

       I certify that, on April 1, 2022, a copy of the foregoing was filed on the Court’s CM/ECF

system, which will send notification to all counsel of record.

                                                     /s/ George J. Terwilliger III                 Formatted: Left, Line
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